r' v
             Case 3:16-cr-02199-MMA              Document 70
  AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                      Filed 11/09/16             PageID.140           Page 1 of 2
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                                                                                                                  NOV 0 9 2016
                                      United States District Co jrt
                                    SOUTHERN DISTRICT OF CALIFORNIA
                                                    JUDGMENT IN A ffilMINAX CTASE"
                  UNITED STATES OF AMERICA
                             V.                     (For Offenses Committed On or After November 1, 1987)
               GUSTAVO SANTIAGO-PETROLINO (3)
                                                                          Case Number:         16CR2199 MMA

                                                                       RICARDO GONZALEZ
                                                                       Defendant’s Attorney
   REGISTRATION NO.                 57687298

       □-
   THE DEFENDANT:
   IEI pleaded guilty to count(s)       ONE OF THE INFORMATION

   □ was found guilty on count(s)
       after a plea of not guilty.
   Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
   Title & Section                    Nature of Offense                                                                  Number(s)
   8:1324(a)(l)(A)(ii), (v)(I),       CONSPIRACY TO TRANSPORT CERTAIN ALIENS FOR                                             1
   (a)(l)(B)(i)                       FINANCIAL GAIN




       The defendant is sentenced as provided in pages 2 through     __          2            of this judgment.
   The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       □ The defendant has been found not guilty on count(s)
       □ Count(s)                                                is          dismissed on the motion of the United States.

             Assessment: $100.00 WAIVED



       IE!
      No fine                □ Forfeiture pursuant to order filed                                       , included herein.
         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
  judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
  any material change in the defendant’s economic circumstances.

                                                                       Njytfenf6er4.2016
                                                                           of Imposition of         itence


                                                                       HON. MICHAEL M. ANELLO
                                                                       UNITED STATES DISTRICT JUDGE



                                                                                                                       16CR2199 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                GUSTAVO SANTIAGO-PETROLINO (3)                                           Judgment - Page 2 of 2
CASE NUMBER:              16CR2199 MMA


                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

 j-|   The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      16CR2199 MMA
